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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                   8:07CR408
      vs.                                   )
                                            )                    ORDER
DOUGLAS HUNT,                               )
                                            )
                    Defendant.              )



        This matter is before the court on defendant's unopposed MOTION TO ENLARGE TIME
TO FILE PRETRIAL MOTIONS [26].     For good cause shown, I find that the motion should be
granted. The defendant will be given the requested approximate 30-day extension.
 Pretrial Motions shall be filed by January 9, 2008.

      IT IS ORDERED:

      1.    Defendant's MOTION TO ENLARGE TIME TO FILE PRETRIAL MOTIONS [26] is
granted. Pretrial motions shall be filed on or before January 9, 2008.

       2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between December
10, 2007 and January 9, 2008, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

      DATED this 10th day of December, 2007.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
